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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA


 MCARTHUR GRIFFIN                                   CIVIL ACTION NO: 3:20-cv-00092
                                 Plaintiff
                                                    DISTRICT JUDGE:
 VERSUS                                             HON. BRIAN A. JACKSON

 REC MARINE LOGISTICS, LLC, ET                      MAGISTRATE JUDGE:
 AL                                                 HON. ERIN WILDER-DOOMES
                       Defendants



                       MOTION FOR LEAVE TO AMEND ANSWER
MAY IT PLEASE THE COURT:
       REC Marine Logistics, LLC, GOL, LLC, Gulf Offshore Logistics, LLC, and Offshore

Transport Services, LLC (hereinafter sometimes collectively referred to as the “Vessel

Defendants”) respectfully request leave of Court to file an Amended Answer. Vessel Defendants

aver that the facts and circumstances of this case warrant allowing them to file an Amended

Answer for the purposes stated herein. Furthermore, as discussed further below, no other party will

be prejudiced should the Court grant leave to amend.

                     FACTUAL AND PROCEDURAL BACKGROUND

       The Plaintiff, McArthur Griffin, was employed by REC Marine Logistics, LLC (“REC

Marine”) as a deckhand. He alleges that, on or about May 25, 2018, he was injured while working

on the M/V DUSTIN DANOS, a vessel operated by REC Marine. More particularly, Griffin claims

he sustained injuries to his shoulder, neck, back, legs, and other body parts when the captain of the

M/V DUSTIN DANOS “allowed the vessel to move suddenly during a man-lift operation,

resulting in Plaintiff being violently struck by the lift.” On April 22, 2019, Plaintiff filed an

Original Petition for Damages (the “Original Petition”) in the 19th Judicial District Court for East
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Baton Rouge Parish against REC Marine, GOL, LLC, Gulf Offshore Logistics, LLC, and an

alleged insurer of these entities. 1 The Original Petition asserted claims for Jones Act negligence,

unseaworthiness, and maintenance and cure.

        On September 5, 2019, Griffin filed a First Supplemental and Amended Petition for

Damages (the “Amended Petition”) in the above-referenced state court action. 2 The Amended

Petition simply added two new parties, Offshore Transport Services, LLC and QBE Insurance

(Europe) Limited. All substantive allegations of the Amended Petition were identical to those in

the Original Petition.

        On February 17, 2020, Plaintiff’s state court case was removed to this Court by QBE. On

April 29, 2020, the Vessel Defendants filed an Answer. 3 At the time the Answer was filed, the

Vessel Defendants were represented by another attorney. That attorney did not include a

McCorpen defense on behalf of REC Marine in the originally-filed Answer. Although the reason

is not entirely clear, it appears the omission was an oversight given that on May 19, 2020 (less

than a month later), prior counsel submitted a Status Report to the Court and all parties specifically

stating that the McCorpen defense was being asserted. 4

        In September of 2020, undersigned counsel was asked to take over the defense of this case

for the Vessel Defendants. On October 5, 2020, a Motion to Substitute Counsel was filed. 5 The

Motion was granted on October 6, 2020. 6 Since undersigned counsel was formally enrolled,

Plaintiff has issued various forms of discovery directed towards the McCorpen defense. Of note,

Plaintiff propounded Requests for Admission to REC Marine which were responded to on


1
  See Original Petition, attached hereto as Exhibit A.
2
  See Amended Petition, attached hereto as Exhibit B.
3
  See Answer to Complaint, Rec. Doc. 14.
4
  See Status Report submitted on May 19, 2020, attached hereto as Exhibit C
5
  Rec. Doc. 45.
6
  Rec. Doc. 46.

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December 2, 2020. Request for Admission No. 22 states “Admit Plaintiff did not and has not

fraudulently concealed a material pre-existing medical condition which is causally related to the

injuries Plaintiff alleges were sustained as a result of the Incident.” 7 This Request for Admission

specifically tracks the three factors of the McCorpen defense (i.e., intentional concealment,

materiality, and causality). REC Marine denied Request for Admission No. 22, another clear

indication that it was asserting the defense. Plaintiff issued further discovery to REC Marine in the

form of a Rule 30(b)(6) Notice of Corporate Deposition. 8 Griffin requested that REC Marine put

forward a corporate representative to testify on 40 different topics. Included therein were topics

related to the McCorpen defense. More particularly, topic 34 related to “All actions taken by you

in connection with hiring of plaintiff,” and topic 37 pertained to “A description of all pre-hire

screening, including medical, of plaintiff, and the results of the screening tests.” 9

        In addition to the above, plaintiff propounded a second set of Requests for Production and

Interrogatories to the Vessel Defendants on March 2, 2021. 10 These discovery requests are even

more directly targeted at the McCorpen defense. Request No. 1 states as follows:

                 Produce all documents supporting Defendants’ contention that
                 Plaintiff intentionally concealed and/or misrepresented pertinent
                 medical facts prior to his employment. This request seeks
                 information related to Defendants’ claimed McCorpen defense.

In response, the Vessel Defendants produced two prior lawsuits filed by plaintiff for personal

injuries, some of which are identical to the injuries claimed in this suit. 11 The Vessel Defendants

also referred plaintiff to his previously-produced personnel file, and pre-employment physical

records.


7
  See Request for Admission No. 22, attached hereto as Exhibit D.
8
  See Plaintiff’s Second Amended Notice of Deposition of REC Marine, attached hereto as Exhibit E.
9
  Exhibit E
10
   See Second Requests for Production, attached hereto as Exhibit F.
11
   See Responses to Second Requests for Production, attached hereto as Exhibit G.

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       In summary, plaintiff has been aware for a very long time that the McCorpen defense is

being asserted. Given this awareness, he has issued extensive discovery (in various forms) on the

issue. Plaintiff cannot claim surprise or prejudice by the Court allowing REC Marine to formally

plead a McCorpen defense which was inadvertently omitted from its original Answer, especially

when he has proceeded throughout this case under the assumption that the defense is being

asserted.

       In addition to REC Marine requesting leave to formally assert the McCorpen defense, the

Vessel Defendants respectfully request that they be allowed to amend their Answer in several other

minor respects. As noted above, upon removal of the case to this Court, the Vessel Defendants

filed an Answer. While the originally-filed Answer did not specify that it was an Answer to both

the Original and Amended Petitions in state court, it was clearly intended as such given that the

Answer was also filed on behalf of Offshore Transport Services, LLC, which was not a defendant

until plaintiff filed his Amended Petition. Accordingly, the Vessel Defendants simply wish to

clarify that the Answer which was filed upon removal of the case to this Court was meant to serve

as an Answer to both the Original Petition and the Amended Petition.

       On a separate note, both Plaintiff’s Original Petition and Amended Petition contain two

paragraphs labeled as “X.” Vessel Defendants wish amend their Answer to specify (to the extent

necessary) that the denial of the allegations in Paragraph X was intended as a denial of the

allegations in both paragraphs labeled as “X.” Lastly, due to the non-sequential numbering of the

above-referenced paragraphs, the Vessel Defendants inadvertently omitted a response to Paragraph

IX. Accordingly, they respectfully ask the Court to allow them to amend their Answer to deny the




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allegations contained in Paragraph IX of the Original and Amended Petitions. A copy of the

proposed Amended Answer is attached to this Motion for the Court’s reference. 12

                                          LAW AND ARGUMENT

                                          Governing Legal Standard

           Whether the Vessel Defendants should be allowed to file an Amended Answer is governed

by Federal Rule of Civil Procedure 16(b). As noted in the Court’s recent Order on Plaintiff’s

Motion to Compel Discovery Responses, the factors to be considered are: (1) the explanation for

failure to timely move for leave to amend; (2) the importance of the amendment; (3) potential

prejudice in allowing the amendment; and (4) the availability of a continuance to cure such

prejudice. S&W Enters., LLC v. SouthTrust Bank of Ala., NA, 315 F.3d 533, 536 (5th Cir. 2003).13

                 The Vessel Defendants Should Be Allowed to File an Amended Answer

           Application of the above-referenced four-factor test supports the Vessel Defendants’

request for leave to file an Amended Answer. With respect to the first factor, it appears the failure

of REC Marine’s prior counsel to assert the McCorpen defense was an oversight. This is supported

by the fact that less than a month after filing the original Answer, prior counsel submitted a Status

Report to the Court (which was shared with plaintiff’s counsel) confirming that the McCorpen

defense was being asserted. Given the amount of discovery propounded by the plaintiff directly

targeted at the McCorpen defense, undersigned counsel did not realize until recently that the

defense had not been formally plead in the Answer filed by prior counsel.

           Regarding the second factor, the ability of REC Marine to plead the McCorpen defense is

clearly important. As this Court is aware, the McCorpen defense is pleaded in nearly every Jones

Act case in which a seaman is asserting entitlement to maintenance and cure benefits. When the


12
     See proposed Amended Answer, attached hereto as Exhibit H.
13
     Rec. Doc. 75, footnote 14

                                                        5
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elements of a McCorpen defense are met, it has the effect of barring a claim for maintenance and

cure. This Court specifically noted in its recent Order that “the defense is important.” 14

         Thirdly, no prejudice will result from the Court allowing REC Marine to formally assert

the McCorpen defense. Plaintiff has been aware for well over a year that REC Marine was seeking

to bar his claim for maintenance and cure based on McCorpen. Not only has he had the opportunity

to, but he has in fact engaged in significant discovery to address this affirmative defense. Plaintiff

also has additional time to conduct any necessary discovery, as the deadline for completing

discovery is August 21, 2021. This is likely why the Court mentioned in its recent Order that “there

seems to be an absence of any prejudice as the parties can still conduct discovery related to the

[McCorpen] defense.” 15

         The fourth factor is the availability of a continuance to cure any prejudice. As noted above,

Plaintiff will not suffer prejudice by the Court allowing REC Marine to formally plead a defense

which he has always assumed was being asserted. Furthermore, REC Marine notes that the Court

recently issued an Order continuing trial of this case and extending various deadlines. 16 This

included extending the discovery deadline to August 21, 2021. This built-in continuance should

adequately address any concerns plaintiff may have about his ability to conduct discovery related

to the McCorpen defense. Moreover, because trial was continued to March 21, 2022, should

additional time be needed, the Court can simply issue a further extension of the current discovery

deadline.

         The remaining proposed amendments to the Vessel Defendants’ Answer are meant to

clarify minor technical issues in the pleadings. Such amendments clearly will not prejudice



14
   Rec. Doc. 75, pg. 4
15
   Rec. Doc. 75, pg. 4
16
   Rec. Doc. 70.

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Plaintiff in any way. In fact, it seems unlikely that Plaintiff will even object to these proposed

amendments. Nevertheless, because plaintiff objects to the assertion of the McCorpen defense, the

Vessel Defendants are including their request for leave in the instant Motion.

                                           CONCLUSION

        For all of the foregoing reasons, the Vessel Defendants respectfully request leave of Court

to file an Amended Answer. Vessel Defendants further pray for any other relief which the Court

may deem appropriate.

                                                        Respectfully submitted,


                                                        /s/ Kyle A Khoury
                                                        Salvador J. Pusateri, T.A. (#21036)
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                                                        ATTORNEYS FOR REC MARINE
                                                        LOGISTICS, LLC, GOL, LLC, GULF
                                                        OFFSHORE LOGISTICS, LLC, AND
                                                        OFFSHORE TRANSPORT SERVICES,
                                                        LLC


                      Certificate of Compliance with Local Civil Rule 7(e)

        Counsel for the Vessel Defendants hereby certifies that attempts were made to obtain

consent for the filing of the instant Motion for Leave to Amend Answer. However, counsel for the

plaintiff advised that plaintiff objects to the request for leave.



                                 _____/s/ Kyle A Khoury________

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